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             EXHIBIT B-7
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            IN THE DISTRICT OF COLUMBIA COURT OF APPEALS



In the Matter of                    )
                                    )
CONFIDENTIAL (J.B.C.), ESQ.         )
                                    )          NO. 22-BS-0059
      Respondent.                   )
                                    )
A Member of the Bar of the District )
 Of Columbia Court of Appeals       )
                                    )
      Defendant.                    )

                           APPEARANCE OF COUNSEL

     The Court will please note the appearance of undersigned counsel on behalf of

Respondent.



                                               Respectfully Submitted,

                                               By:

                                               /s/ Charles Burnham
                                               Charles Burnham VSB # 72781
                                               Attorney for the Respondent
                                               Burnham & Gorokhov, PLLC
                                               1424 K St. NW, Suite 500
                                               Washington, DC 20005
                                               (202) 386-6920 (phone)
                                               (202) 765-2173
                                               charles@burnhamgorokhov.com
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                     CERTIFICATE OF SERVICE

 I have served this filing on the government through the ecf system.



                                              Respectfully Submitted,



                                              By: /s/ Charles Burnham
                                              Charles Burnham VSB # 72781
                                              Attorney for the Accused
                                              Burnham & Gorokhov, PLLC
                                              1424 K St. NW, Suite 500
                                              Washington, DC 20005
                                              (202) 386-6920 (phone)
                                              (202) 765-2173 (fax)
                                              charles@burnhamgorokhov.com
Case 1:22-mc-00096-RC Document 1-63 Filed 10/17/22 Page 4 of 4
